                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MISSOURI
 IN RE APPLICATION FOR ORDER TO                    )
 OBTAIN EVIDENCE PURSUANT TO                       )
 LETTER ROGATORY FROM                              )
 BANKRUPTCY COURT OF FIRST                         ) Case No.
 INSTANCE OF URUGUAY.                              )

       PETITION FOR ORDER TO OBTAIN EVIDENCE IN AID OF FOREIGN
                 PROCEEDING PURSUANT TO 28 U.S.C. § 1782
       Pursuant to 28 U.S.C. § 1782(a), Seaboard Corporation, through its undersigned counsel,

requests that the Court issue an order to obtain evidence from a resident of this district in aid of a

foreign proceeding pursuant to a Letter Rogatory issued by the Judge in that foreign proceeding.

In support of this request, Petitioner alleges and states as follows:

       1.       Petitioner Seaboard Corporation ("Seaboard") is a Delaware corporation with its

principal place of business in Merriam, Kansas.

       2.       Seaboard and certain of its affiliates are respondents in a bankruptcy proceeding

pending in Montevideo, Uruguay, relating to Cereoil Uruguay SA ("Cereoil"), a bankrupt

Uruguayan agricultural firm in which Seaboard owns an indirect minority equity interest. This

bankruptcy proceeding seeks, inter alia, to hold the respondents therein responsible for Cereoil's

shortfall of assets compared to its liabilities due to alleged improper actions by the respondents.

       3.       The bankruptcy proceeding is pending before the Uruguayan Bankruptcy Court of

the First Instance, 1st Term, under the caption A.U.P.E. v. Seaboard (Uruguay) Holdings Ltd. et

al. – Proceedings for Reimbursement of Bankrupt's Estate, Docket No. 40-35/2018 (the

"Bankruptcy Proceeding"). Copies of the pleading initiating the Bankruptcy Proceeding (in the

original Spanish and an English translation) are included as attachments to the Letter Rogatory

submitted as Exhibit A to the attached Declaration of Counsel in support of this Petition (the




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"Declaration").

        4.       Jorge Cortés, currently a resident of Branson, Missouri1 and a former employee of

Seaboard's Finance Department, performed tasks in connection with his employment at Seaboard

that pertained to Cereoil during certain times relevant to the Bankruptcy Proceeding. Mr. Cortés

formerly worked at Seaboard's principal office in Merriam, Kansas.

        5.       Upon the motion of Uruguayan counsel for the respondents in the Bankruptcy

Proceeding (including the Petitioner here, Seaboard), the presiding Judge in Uruguay has issued

the Letter Rogatory attached to the Declaration as Exhibit A requesting the assistance of this

Court in obtaining evidence relevant to the Bankruptcy Proceeding from Mr. Cortés.

        6.       The Letter Rogatory seeks testimonial responses from Mr. Cortés to twenty-two

interrogatories (some with subparts) that have been translated from the original Spanish to

English.

        7.       The Letter Rogatory further authorizes the undersigned counsel to attend and

appear at the proceeding in which the testimony is given, for the sole purpose of "ask[ing]

clarifying questions regarding the questions included in the interrogatory…."

        8.       The Uruguayan Court has given the Respondents in the Bankruptcy Proceeding

until August 31, 2022, to obtain the requested evidence from Mr. Cortés and to submit it to the

Uruguayan Court.

        9.       This Court has personal jurisdiction over Mr. Cortés because he resides in this

judicial district. Mr. Cortés is not subject to the subpoena power of the Uruguayan court.

        10.      This Court has subject matter jurisdiction over this petition under 28 U.S.C.




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 The Letter Rogatory reflects Mr. Cortes's prior residence in Parkville, Missouri. He has since retired and moved to
Branson.




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§ 1331 because it arises under federal law, namely 28 U.S.C. § 1782.

        11.     In the Letter Rogatory, the Uruguayan court indicates its offer of "reciprocity in

similar cases." Exhibit A, pdf p.64.

        12.     The twenty-two interrogatories included with the Letter Rogatory are related to

the subject matter of the Bankruptcy Proceeding and are not unduly intrusive or burdensome.

        13.     Petitioner submits that the process suggested by the Letter Rogatory most closely

resembles a Deposition Upon Written Questions pursuant to Fed. R. Civ. P. 31, with counsel

permitted to ask follow-up questions of clarification.

        WHEREFORE, Petitioner Seaboard respectfully prays that the Court require production

of the evidence requested in the Letter Rogatory, and issue an order for Mr. Cortés to appear for

a Deposition By Written Questions (subject to clarifying questions by the undersigned counsel)

at a convenient time and location to be arranged on or before August 5, 2022. A memorandum

of law in support of this request and proposed order are being filed simultaneously with this

Petition.

Date: May 24, 2022                                    Respectfully submitted,

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